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                                                                                                               Alphabet
                                                                                                               Google


GOOGLE ENTERPRISE DEAL EXTENSION
AUGUST 16 MEETING FOLLOW-UP MATERIALS
AUGUST 24, 2022                                                                                                    EXHIBIT 6390

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Executive Summary
   • Current partnership drove Google Play ecosystem growth across several key metrics versus your competitor, including:
      • GP share of ABK mobile revenue growing +3ppts versus iOS (FY17-FY19 42% of Android/iOS IAP share growing to 45% FY20-FY22);
      • GP share of ABK mobile MAU growing +6ppts versus iOS (FY19 71% of Android/iOS MAU share growing to 76% FY22)
   • Following the launch of the enterprise partnership, there was material growth in additional KPls:
      • —1,250% growth (—+1,00Opts vs. iOS) in paid installs (vs. Jan '17)
      • —450point increase in MAU(—+30Opts vs. iOS)from paid installs (vs. Jan '17)
      • —450point increase in ABK revenue from paid installs(—+30Opts vs. iOS) as compared to Jan '17
   • Increased share of daily payers vs. competitor of —+100ppts (vs. Jan '19), with global gross bookings —50ppts higher than competitor since January 2019




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Partnership successfully grew the GP ecosystem...
 .increasing GP's market share across both revenue and MAII

 GP Mobile Gaming Revenue Share of ABK Titles                                           GP Share of ABK Mobile MAU
 Current Deal FY20-FY22 vs Pre-Deal FY17-FY19                                           FY19 vs. FY22
                                                                                                                +6ppts
                              +3pp    l
                                                                                                                         76%
                                                45%                                                     71%
                42%




                FY19                            FY22                                                    FY19             FY22



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Partnership led to higher paid installs vs. competitor
This drove an accelerating lead for both reach and revenue on GP vs. competitor

  ABK Paid Installs vs. Competitor'                              ABK MAU from Paid Installs                                                    ABK Revenue from Paid Installs
  I ndexed to January 2017                                       I ndexed to January 2017                                                      I ndexed to January 2017

                                       ABK/Google Deal                                                            ABK/Google Deal                                                    ABK/Google Deal
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                     Android     Competitor                                               Android             Competitor                                           Andtoid   — — — Comm!dot




 AM/Mom RN Alphabet Google 1. Excluding CoDM from October 2019 which had data issues in paid/organic tracking during launch.
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 Monthly payer gap vs. competitor expanded during the partnership
Nearly +60ppt gap between GP and competitor since January 2019 in monthly payers


   Global ABK Gross Bookings vs. Competitor                                                                                                   Monthly Payers vs. Competitor
    I ndexed to January 2019                                                                                                                  Indexed to January 2019

   .120%




    4-80%
                                                                                                                                     5Oppts
    1-60%
                                                                                                                                                                                                                                                                      1+100ppts
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                                                         And ro   --- Competitor




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